
*217OPINION.
Sternhagen:
The taxpayer contends, as did the Old Colony R. R. Co., 1 B. T. A. 1067, that it is affiliated with the New Haven because of the extent to which its affairs are in the hands of the New Haven under its contract of lease and operation. Only 971 shares out of 30,000 shares of its preferred stock and none of its common stock was owned by the New Haven, and there is no evidence from which we can infer that the New Haven exercised any actual control of the rest. In the Old Colony appeal, supra, and in the Appeal of Hartford &amp; Connecticut Western R. R. Co., 2 B. T. A. 211, we have said that control of stock is not necessarily predicated on control of corporate business and property and that a lessee is not, ipso facto, affiliated with its lessor, even although the properties of the two are necessary parts of the same transportation system. We can not so *218far disregard the terms of the statute as to construe control of the stock to mean control of the business. We may, as we have sometimes done, examine the facts as to the business relations of the two entities in order to determine whether the one corporation controls substantially all the stock of the other. This we did in the Hartford, appeal, where we held that the ownership of a majority and the circumstances as to the remainder gave the one corporation control of substantially all the stock of the other.
But in the present appeal, the New Haven is in no position to dominate the owners of the stock. They have, individually and collectively, entire independence from the New Haven, excepting only that they shall abide by their corporate contract. This limitation is self-imposed. Likewise, the New Haven must perform its contract, or these holders of an adverse interest may enforce their remedy of forfeiture and re-entry. Unlike the situation in the Hartford appeal, the power here rests with the remaining stockholders and not with the New Haven. From the standpoint of income, it is clear that the income of the taxpayer is of no concern to the New Haven. After the New Haven pays its rent it has no interest in or control over the taxpayer’s purse. The taxpayer receives its rent and pays such dividends as it chooses. What common interest exists which justifies the absorption of the taxpayer’s income in the New Haven’s net loss and its consequent escape from tax? We perceive none, and hold that separate returns are proper under the statute.
This makes it necessary for us to decide the second question; whether the payment in 1919 by the New Haven of the Federal income tax upon the taxpayer’s 1918 net income operates, in effect, to increase the taxpayer’s 1918 income by the amount thus paid, and hence to increase the tax in the amount of the present deficiency. The Commissioner argues that the financial benefit of the tax saved is the exact measure of additional income — that, in a new light, a penny saved is a penny earned. That one does not avoid tax by having another pay his bills ought to be clear; but the extent to which the logic of the statement may lead is far from clear. See Duffy v. Pitney, 2 Fed. (2d) 230. In the present appeal, however, we are saved the necessity of drawing the line, because nothing was gained by the taxpayer in any event in 1918. The tax on 1918 income was not due until 1919, Appeal of L. S. Ayers &amp; Co., 1 B. T. A. 1135; and it was not until then paid by the New Haven. This can not serve to increase the income of 1918, whatever may be its effect upon 1919 income. For this reason the deficiency for 1918, being founded entirely upon this alleged increase, can not be sustained.
